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                                                      Haslam Law Firm LLC 09/26/24          Page
                                                                          Mail - Re: Hudson v. Racer, et1al.of 9 PageID #: 2223



                                                                                                Tyler Haslam <tyler@haslamlawfirm.com>



  Re: Hudson v. Racer, et al.
  1 message

  Stebbins, James C. <jstebbins@flahertylegal.com>                                       Wed, Sep 25, 2024 at 10:31 AM
  To: Tyler Haslam <tyler@haslamlawfirm.com>
  Cc: Kerry Nessel <nessel@comcast.net>, "Wendy E. Greve" <wgreve@pffwv.com>, "Burdette, Danica N."
  <dburdette@flahertylegal.com>, Luke Mathis <lmathis538@gmail.com>, Charlotte Dorsey <charlotte@haslamlawfirm.com>,
  Ben Vanston <bvanston@pffwv.com>, Brittany Scott <bscott@pffwv.com>, Jayne Hudnall <jhudnall@pffwv.com>

     I have not heard from my client yet and am in another mediation today. I will try to reach out again to him once we get
     situated.

     Jamie
     Sent from my iPhone


             On Sep 25, 2024, at 10:03 AM, Tyler Haslam <tyler@haslamlawfirm.com> wrote:



                 CAUTION: THIS EMAIL ORIGINATED FROM OUTSIDE THE ORGANIZATION.

             Jamie,

             Do you have any updates?

             Thanks.

             Tyler

             On Tue, Sep 24, 2024 at 11:07 AM Jayne Hudnall <jhudnall@pffwv.com> wrote:

               Please copy Ben Vanston and Brittany Scott also, please.




               From: Stebbins, James C. <jstebbins@flahertylegal.com>
               Sent: Tuesday, September 24, 2024 10:43 AM
               To: Tyler Haslam <tyler@haslamlawfirm.com>
               Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>; Jayne
               Hudnall <jhudnall@pffwv.com>; Burdette, Danica N. <dburdette@flahertylegal.com>; Luke
               Mathis <lmathis538@gmail.com>; Charlotte Dorsey <charlotte@haslamlawfirm.com>
               Subject: [EXTERNAL] RE: Hudson v. Racer, et al.


               Tyler:


               I have reached out to my client to discuss the below but have not heard back from him yet. I
               am in mediation today but gave him my cell phone so I am hoping he will call me today. I will
               let you know when I hear from him.


               Jamie

https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-f:1811178781445496009&simpl=msg-f…   1/9
9/26/24, 4:07 Case
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                                                                                                                                                                                                                                                                                                                                                                                                       Mail - Re: Hudson v. Racer, et2al.of 9 PageID #: 2224



               James C. Stebbins
               Member




               Flaherty
               FLAHERTY SENSABAUGH BONASSO PLLC

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               CHARLESTON, WV 25338

               OVERNIGHT:

               200 CAPITOL STREET

               CHARLESTON, WV 25301

               PHONE: 304.205.6388

               FAX: 304.345.0260




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               From: Tyler Haslam <tyler@haslamlawfirm.com>
               Sent: Friday, September 20, 2024 3:35 PM
               To: Stebbins, James C. <jstebbins@flahertylegal.com>
               Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>; Jayne
               Hudnall <jhudnall@pffwv.com>; Burdette, Danica N. <dburdette@flahertylegal.com>; Luke
               Mathis <lmathis538@gmail.com>; Charlotte Dorsey <charlotte@haslamlawfirm.com>
               Subject: Re: Hudson v. Racer, et al.




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                Jamie,We agreed to a protective order and to use the Court's standard form during our Rule 26(f) meeting. That's specifically noted in the Report of Parties Planning Meeting [Dkt. 17] that I filed on 11/27/23. Had the internal affairs investigative file been produced prio ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




               Jamie,



               We agreed to a protective order and to use the Court's standard form during our Rule 26(f) meeting.
               That's specifically noted in the Report of Parties Planning Meeting [Dkt. 17] that I filed on 11/27/23. Had
               the internal affairs investigative file been produced prior to Racer's deposition, we would have asked
               pointed questions about his orbital fracture and brain bleed. We had no reason to know that the County
               was allowing Racer to work and to drive while medically compromised.



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                                                                          Mail - Re: Hudson v. Racer, et3al.of 9 PageID #: 2225
               I appreciate the offer to answer written questions, but it will be faster and more effective (particularly with
               the pending summary judgment deadline) to depose Racer a second time on the issues related to his eye
               injury. By the time we send you questions and you meet with him and record his answers, we can knock
               out a deposition. I don't anticipate that it will take more than an hour to an hour and half. We have no
               problem driving to Dunbar and taking it at the police academy. I don't care to do it at any hour of the night
               or day. If Racer can sit at 3 AM, I'll be there. I have the entirety of Tuesday, Wednesday, Thursday, and
               Friday next week available.



               Please let me know.



               On Mon, Sep 16, 2024 at 8:46 AM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

                  Tyler:


                  It is not my desire to bother the Court with this matter either. Respectfully, you could have
                  asked Mr. Racer about his orbital fracture when you deposed him the first time and the right
                  questions were not asked. I don’t think that you ever proposed a protective order at any
                  time.


                  Nevertheless, as a compromise, I will offer to permit a deposition of Mr. Racer by written
                  questions under Rule 31 or I will have my client answer interrogatories targeted at the
                  issue(s) you describe and I will do what I can to get answers promptly and not take 30
                  days. Doing one of this things will allow you to get the discovery you want with the least
                  impact on his training.


                  Let me know if one of these options works for you.


                  Best,


                  Jamie



                  James C. Stebbins
                  Member




                  Flaherty
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                  P.O. BOX 3843

                  CHARLESTON, WV 25338

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                                                                                                                                                                                                                                                                                                                                                                   Mail - Re: Hudson v. Racer, et4al.of 9 PageID #: 2226
                  CHARLESTON, WV 25301

                  PHONE: 304.205.6388

                  FAX: 304.345.0260



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                  From: Tyler Haslam <tyler@haslamlawfirm.com>
                  Sent: Friday, September 13, 2024 4:11 PM
                  To: Stebbins, James C. <jstebbins@flahertylegal.com>
                  Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>; Jayne
                  Hudnall <jhudnall@pffwv.com>; Burdette, Danica N. <dburdette@flahertylegal.com>
                  Subject: Re: Hudson v. Racer, et al.




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                   Jamie,Racer can and should be deposed a second time, particularly as it relates to the newly discovered information about his orbital fracture and brain bleed.Further, we indicated at the Rule 26(f) conference that we were fine with all standard protective orders promulgated by t ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




                  Jamie,



                  Racer can and should be deposed a second time, particularly as it relates to the newly discovered
                  information about his orbital fracture and brain bleed.



                  Further, we indicated at the Rule 26(f) conference that we were fine with all standard protective orders
                  promulgated by the Southern District.



                  We are trying to resolve this without court intervention, and we would like to avoid the unnecessary
                  cost and delay associated with trying to compel his deposition through the court. Given the time
                  constraints placed on depositions by order this week, we will ask the Court to intervene Monday
                  morning if this issue cannot be resolved amicably between now and then.



                  Tyler



                  On Fri, Sep 13, 2024 at 4:00 PM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

                                                Kerry:


                                                I managed to talk to Mr. Racer today and he is not willing to be deposed voluntarily a
                                                second time. He is not trying to be difficult but we think that the request is not fair or
                                                reasonable for many reasons.

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                     First of all, as you know, Mr. Racer was made available on July 2, 2024 starting at 9:00 in
                     the morning and when Plaintiff decided to terminate his deposition at 2:15 p.m., that was
                     not because of any request by Mr. Racer or his counsel to stop and we would have made
                     him available for the remainder of the afternoon if necessary. We had no discussion at
                     that time that there was any reason to leave the deposition open.


                     Secondly, I do not think that it is fair to ask Mr. Racer to subject himself to another
                     deposition so that you can ask him questions about the KCSD investigation report. You
                     have known about the existence of that report since it was first disclosed by the County
                     Defendants in this case in their initial disclosures on July 2. 2024. The disclosures by the
                     County Defendants indicated that the report would be made available to the other parties
                     upon entry of a Protective Order and I do not believe that Plaintiff ever submitted any
                     proposed Protective Order to obtain those documents prior to deciding to take Mr.
                     Racer’s deposition.


                     I would also note that Mr. Haslam already asked Mr. Racer’s questions about that
                     investigation during his deposition.


                     I am also aware of case law holding that if a party chooses to prematurely take a
                     deposition before document discovery is complete, that is not an excuse for subjecting a
                     witness to a second deposition.


                     Third, the Rules clearly contemplate only 1 deposition per witness unless stipulated by
                     the parties.


                     Lastly, as you know, Mr. Racer is currently enrolled at the West Virginia State Police
                     Academy where he hopes to graduate on December 13, 2024. I understand that this
                     training is taxing both mentally and physically and I do not think that it is fair to ask him
                     to prepare for and undergo a deposition (especially a second deposition) while he is in
                     the middle of that training.


                     Based upon all of the above, I must respectfully decline your request. If you would like to
                     discuss this further, please give me a call.


                     Have a nice weekend everyone.


                     Best,


                     Jamie



                     James C. Stebbins
                     Member
https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-f:1811178781445496009&simpl=msg-f…   5/9
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                     FAX: 304.345.0260



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                     From: Kerry Nessel <nessel@comcast.net>
                     Sent: Thursday, September 12, 2024 12:41 PM
                     To: Stebbins, James C. <jstebbins@flahertylegal.com>
                     Cc: Wendy E. Greve <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>;
                     tyler@haslamlawfirm.com; Burdette, Danica N. <dburdette@flahertylegal.com>
                     Subject: Re: Hudson v. Racer, et al.




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                     Thanks for thorough response.



                     Sent from my iPhone



                             On Sep 12, 2024, at 12:10 PM, Stebbins, James C. <jstebbins@flahertylegal.com>
                             wrote:

                             ﻿

                             Hi Kerry:


                             I need to look at some things regarding this request and am under a
                             deadline in another matter today and I also want to try to reach out to my
                             client about it. I will give you a full response tomorrow even if I am unable to
                             reach him. I did not want you to think I was ignoring this request since you
                             asked for an answer ASAP.


https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-f:1811178781445496009&simpl=msg-f…   6/9
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                                                                                                                                                                                                                   Haslam Law Firm LLC 09/26/24          Page
                                                                                                                                                                                                                                       Mail - Re: Hudson v. Racer, et7al.of 9 PageID #: 2229
                             Best,


                             Jamie



                             James C. Stebbins
                             Member




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                             From: KERRY NESSEL <nessel@comcast.net>
                             Sent: Wednesday, September 11, 2024 2:17 PM
                             To: Stebbins, James C. <jstebbins@flahertylegal.com>; Wendy E. Greve
                             <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>
                             Cc: tyler@haslamlawfirm.com
                             Subject: Hudson v. Racer, et al.




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                              Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page internal affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions. As the Court entered and order yesterday extending the deposition deadline to Sept 27 a ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




                              ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




                             Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the
                             700 + page internal affairs investigation, specifically Lt. Pile's interview with Racer and
                             her conclusions.


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                                                                          Mail - Re: Hudson v. Racer, et8al.of 9 PageID #: 2230
                             As the Court entered and order yesterday extending the deposition deadline to Sept
                             27 and the recent disclosure, we believe our request is reasonable.

                             Please let me know ASAP.

                             Additionally, considering Racer had been brutally battered by no less than 5 men at a
                             bar and suffered significant physical injuries, including a brain bleed and broken orbital
                             bone on his left side, we request his medical records concerning the same.

                             Further, we are willing to travel to the WVSP academy to conduct this deposition.

                             Finally, please provide us dates for your availability to depose Lt. Pile. I assume this
                             will have to take place in Chas.

                             Thanks.

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